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                     TRANSCRIPT ORDER FORM - DIRECTIONS
                                                   of 2       ON THE REVERSE SIDE

  PART I - To be completed by appellant within fourteen days of filing the notice of appeal

  Short Title: ___USA v. McClaflin________    District: ____Colorado_____________________
  District Court Number: __17-cr-00168-CMA__         Circuit Court Number:___20-1268____________
  Name of Attorney: ___Wendy Curtis Palen________________________________________
         Name of Law Firm: __Palen Law Offices, LLP___________________________________
         Address of Firm: ____PO Box 156, Glendo, WY 82213__________________________________
         Telephone of Firm: _307-735-4022___ Attorneys for: ______Appellant_____________________
  Name of Court Reporter: __ Telephone of Reporter: _________________

  PART II - COMPLETE SECTION A OR SECTION B
  SECTION A - I HAVE NOT ORDERED A TRANSCRIPT BECAUSE
              [] A transcript is not necessary for this appeal, or
              [X] The necessary transcript is already on file in District Court –
              [] The necessary transcript was ordered previously in appeal
                  number _____________________________________________

  SECTION B - I HEREBY ORDER THE FOLLOWING TRANSCRIPT:

                            [x] This case is proceeding under the Criminal Justice Act.
  NOTE: Leave to proceed in forma pauperis does not entitle appellant to a free transcript. An order of the
  district court allowing payment for the transcript at government expense must be obtained. See 28 U.S.C.
  §753(f).
                                         CERTIFICATE OF COMPLIANCE
  I certify that I have read the instructions on the reverse of this form and that copies of this transcript order
   form have been served on the court reporter (if transcript ordered), the Clerk of U.S. District Court, all
   counsel of record or pro se parties, and the Clerk of the U.S. Court of Appeals for the Tenth Circuit. I
  further certify that satisfactory arrangements for payment for any transcript ordered have been made with
                                                the court reporter(s).

       Signature of Attorney/Pro Se: __/s/__Wendy Curtis Palen________ Date: __8/17/2020______________



  PART III - TO BE COMPLETED BY THE COURT REPORTER
         Upon completion, please file one copy with the Clerk of the U.S. Court of Appeals and one copy
  with the Clerk of the U.S. District Court.

  Date arrangements for payment completed: ________________________
  Estimated completion date: _______________________
  Estimated number of pages: ______________________
  I certify that I have read the instructions on the reverse side and that adequate arrangements for payment
  have been made.

  Signature of Court Reporter: ___________________________________ Date:____________________
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